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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                           FILEr                .
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRI.~~Rsl" 12: ..3
                                   V.                               (For Offenses Committed On       %1ii ljt"'p.}mt,Tli~fll
                                                                                                    ,iintUN ItiS TAleT vf eALINaJli
          WAL TER RENE MENDOZA-MERA (1)
                                                                       Case Number:         15CR1796-CAB
                                                                                                                  ~~        IIMT~
                                                                    CAITLIN HOW ARD, FE~RAL DEFEORS, INC.
                                                                    Defendant's Attorney
REGISTRA TlON NO.                  50322298
0­
THE DEFENDANT:
IXJ   pleaded guilty to count(s)         ONE (1) OF THE ONE-COUNT SUPERSEDING INFORMATION

o was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                     Nature of Offense                                                                Number!s)
21 USC 952, 960, 963                CONSPIRACY TO DISTRIBUTE COCAINE INTENDED FOR                                       1
                                    IMPORTATION




     The defendant is sentenced as provided in pages 2 through                2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
iZI   Count(s)    Remaining against the defendant             are         dismissed on the motion of the United States.

IZI   Assessment: $100.00




IZI   No fine                 0 Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    Jul



                                                                    HON. CATHY ANN BENCIVENGO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                    15CR1796-CAB
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               W ALTER RENE MENDOZA-MERA (1)                                           Judgment - Page 2 of2
CASE NUMBER:             15CR1796-CAB

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
37 MONTHS.




D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
D     The court makes the following recommendations to the Bureau of Prisons:




D     The defendant is remanded to the custody of the United States Marshal.

D     The defendant shall surrender to the United States Marshal for this district:
      D    at                         A.M.                   on
           ------------------
      D as notified by the United States Marshal.
                                                                  -------------------------------------
D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of
      Prisons:
      D    on or before
      D    as notified by the United States Marshal.
      D    as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

     Defendant delivered on   ___________________________ to _______________________________

at ______________ , with a certified copy of this judgment.



                                                               UNITED STATES MARSHAL



                                   By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      lSCR1796-CAB
